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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND


    TONI MCLAURIN,                                              Case No. 17-cv-03469

           Plaintiffs,

    v.
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    FABIEN LA.RONDE,                                                                  ~o       =       ;0'"
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           Defendant.
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    COUNT 1. FOURTH         AMENDMENT             UNLAWFUL        ARREST    CLAIM
         1. On the Fourth Amendment Unlawful Arrest claim, we find in favor of:


                Plaintiff Toni McLaurin                   LDefendant    Fabien Laronde


            If you found the above to be in favor of Plaintiff McLaurin, then move on to No.
    2. If you found the above to be in favor of Defendant, then continue to the next section
    entitled "Count 2. Fourth Amendment Excessive Force Claim".


         2. What amount of damages will compensate Plaintiff McLaurin for the damages
            that she sustained as a result of Defendant's actions? (Select EITHER Actual
            Damages OR Nominal Damages, but NOT BOTH.)


                         Actual    Damages:       $                          _

                         OR

                         Nominal     Damages:         $                          _




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   3. In addition to Compensatory damages, Punitive damages may be awarded if
      you find that Defendant's conduct was motivated by evil motive or intent, or
      if it involved reckless or callous indifference to Plaintiff McLaurin's rights
      under the United States Constitution. What amount of punitive damages, if
      any, is Plaintiff McLaurin entitled to?

                    Punitive   Damages:       $                       _

      Once you are finished with this section, continue to the next section, entitled
"Count 2. Fourth Amendment Excessive Force Claim. "



COUNT 2. FOURTH          AMENDMENT        EXCESSIVE     FORCE CLAIM
   1. On the Fourth Amendment Excessive Force claim, we find in favor of:


          Plaintiff Toni McLaurin                     .L Defendant    Fabien Laronde


        If you found the above to be in favor of Plaintiff McLaurin, then move on to No.
2. If you found the above to be in favor of Defendant, then continue to the next section
entitled "Fourth Amendment Unreasonable Search Claim."


   2. What amount of damages will compensate Plaintiff McLaurin for the damages
      that she sustained as a result of Defendant's actions? (Select EITHER Actual
      Damages OR Nominal Damages, but NOT BOTH.)


                    Actual Damages:       $                       _

                    OR

                    Nominal    Damages:       $                       _



   3. In addition to Compensatory damages, Punitive damages may be awarded if
      you find that Defendant's conduct was motivated by evil motive or intent, or if
      it involved reckless or callous indifference to Plaintiff McLaurin's rights under
      the United States Constitution. What amount of punitive damages, if any, is
      Plaintiff McLaurin entitled to?


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                        Punitive     Damages:       $       _

           Once you are finished with this section, continue to the next section, entitled
    "Fourth Amendment Unreasonable Search Claim."



    COUNT 3. FOURTH AMENDMENT                   UNREASONABLE         SEARCH          CLAIM
       1. On the Fourth Amendment Unreasonable            Search claim, we find in favor of:


              Plaintiff Toni McLaurin                   ~fendant     Fabien Laronde


            If you found the above to be in favor of Plaintiff McLaurin, then move on to No.
    2. If you found the above to be in favor of Defendant, then go to the end and sign.


       2. What amount of damages will compensate Plaintiff McLaurin for the
          damages that she sustained as a result of Defendant's actions? (Select
          EITHER Actual Damages OR Nominal Damages, but NOT BOTH.)

                        Actual     Damages:     $                        _

                        OR

                        Nominal     Damages:        $                        _


       3. In addition to Compensatory damages, Punitive damages may be awarded if
          you find that Defendant's conduct was motivated by evil motive or intent, or
          if it involved reckless or callous indifference to Plaintiff McLaurin's rights
          under the United States Constitution. What amount of punitive damages, if
          any, is Plaintiff McLaurin entitled to?

                        Punitive     Damages:       $                            _




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    Once you are finished with this section, your deliberations are over. The foreperson
    should sign this form and inform the Court that the jury deliberations are over.



                                                            ~bob020
    Jury   Foreperson   -                                 Dale    7




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